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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

In re:
                                                                 Case No.: 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,
                                                                 Chapter 11
                  1
      Debtors.
________________________________/                                (Jointly Administered)

    MOTION OF THE OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS
            TO ESTABLISH DOCUMENT RETENTION PROTOCOLS

         The Official Committee of Equity Security Holders (the “Equity Committee”) of Premier

Exhibitions, Inc. (“Premier”), a Chapter 11 Debtor in Case No. 3:16-bk-02232-PMG and the

parent company of RMS Titanic, Inc. (“RMST”), Chapter 11 Debtor in Case No. 3:16-bk-02230-

PMG, by and through undersigned counsel, files this motion (the “Motion”) to establish

document and data retention protocols in connection with the proposed sale of certain assets of

the above-captioned debtors (the “Debtors”). In support of this Motion, the Equity Committee

respectfully states:

                                              BACKGROUND

    A. The Bankruptcy Case

         1.       On June 14, 2016 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under Chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101 et seq.

(the “Bankruptcy Code”), commencing the above-captioned, jointly administered bankruptcy case

(the “Bankruptcy Case”).


1
  The Debtors in the Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management,
LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075);
Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309)
(collectively, the “Debtors”). The Debtors’ service address is 3045 Kingston Court, Suite I, Peachtree Corners,
Georgia 30071.


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         2.       The Debtors continue to operate their businesses as debtors in possession pursuant

to sections 1107 and 1108 of the Bankruptcy Code.

         3.       No trustee or examiner has been appointed in the Bankruptcy Case.

         4.       On August 24, 2016, the Acting United States Trustee, Guy G. Gebhardt,

appointed the members of the Equity Committee. On August 31, 2016, the Equity Committee

selected Landau Gottfried & Berger LLP and Akerman LLP as its general bankruptcy counsel.

    B. The D&O Litigation

         5.       On May 25, 2018, the Court entered the Order Granting Emergency Motion of the

Official Committee of Equity Security Holders for Entry of an Order Granting Derivative

Standing and Authority to Prosecute and Settle Certain Claims on Behalf of the Debtors’ Estates

[ECF No. 1036], granting the Equity Committee derivative and exclusive standing to commence,

prosecute, and if appropriate, settle claims against certain of the Debtors’ former and current

directors and officers (the “D&O Claims”).

         6.       On May 29, 2018, the Court entered an order approving the Equity Committee’s

retention of Agentis PLLC as special litigation counsel (“Special Counsel”), nunc pro tunc to

May 2, 2018, to pursue the D&O Claims.

         7.       On June 4, 2018, the Equity Committee, through Special Counsel and on behalf of

the Debtors’ estates (the “Estates”), commenced an adversary proceeding, Adv. Proc. No. 18-ap-

00064-PMG (the “Adversary Proceeding”), against Premier’s former and current directors Mark

A. Sellers, Douglas Banker, Richard Kraniak, Jack H. Jacobs, Daoping Bao, and Sellers Capital,

LLC and Sellers Capital Master Fund, Ltd. (collectively, the “Defendants”), seeking damages for

Defendants’ tortious conduct and asserting claims for breaches of fiduciary duty, aiding and




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abetting breaches of fiduciary duty, gross negligence, Caremark claims, and equitable

subordination [ECF No. 1 in Adversary Proceeding].

           8.       On July 19, 2018, the Court entered an order staying the Adversary Proceeding

and scheduling a status conference on September 18, 2018. [ECF No. 16 in Adversary

Proceeding]. At the status conference, the Plaintiff and Defendants in the Adversary Proceeding

agreed, and the Court ordered2 mediation, as well as informal discovery of the type and scope

contemplated by Local Rule 7001-1(g) and Fed. R. Civ. P. 26(f).

           9.       On September 28, 2018, Special Counsel sent litigation hold letters and demands

to preserve all documents and data to Premier and the Defendants in connection with the

Adversary Proceeding.

       C. The Sale Motion

           10.      On June 15, 2018, the Debtors filed a motion [ECF No. 1055] (the “Sale

Motion”)3 seeking, inter alia, (i) approval of competitive bidding and sale procedures to govern

the Debtors’ sale of “all of the right, title, and interest of Sellers as of the Closing Date in and to

the tangible and intangible assets, properties and rights and claims, to the extent used or

otherwise related to, useful in or necessary for the conduct of, the Sellers’ Business, other than

the Excluded Assets and any Consent Asset subject to Section 1.3. . . .” including “the

outstanding stock of RMST, which is 100% owned by Premier” (the “Transferred Assets”), plus

Assumed and Assigned Contracts, free and clear of all liens, claims, encumbrances and interests

(the “Sale”), and (ii) approval of the asset purchase agreement (the “APA”) with stalking horse

bidder, Premier Acquisition Holdings LLC.




2
    Entry of that order is pending.
3
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Sale Motion.

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         11.     Under the Sale Motion, the Debtors seek to sell assets, defined as the “Transferred

Assets”, to the Stalking Horse Purchaser or other Prevailing Party.              The Proposed Order

approving the Sale provides that “[t]he Transferred Assets include assets owned by Premier’s

indirect non-debtor Canadian subsidiary DinoKing.”              Proposed Order at ¶ G. The Asset

Purchase Agreement defines the Transferred Assets in Section 1.01 to include,

                 (vii) all Books and Records, including files, invoices, personnel files for

         Transferred Employees, OSHA exposure and monitoring records, customer and supplier

         lists, sales and promotional literature, manuals and customer correspondence owned by

         the Sellers that are related to the Business and/or the Transferred Assets, to the extent not

         subject to claims of attorney-client privilege, and which are otherwise permitted to be

         transferred by applicable Law;


                                                          ***


                 (xv) the amount of, and all rights to any, insurance proceeds received by any

         Seller in respect of (A) the loss, destruction or condemnation of any Transferred Assets

         occurring prior to, on or after the Closing or (B) any Assumed Liabilities;


                 (xvi) any and all claims, causes of action, defenses, counterclaims, or settlement

         agreements of Sellers arising out of or relating to the Business, the Transferred Assets

         and/or Assumed Liabilities;


                                                          ***


         and


         (xviii) the assets set forth on Section 1.1(a)(xviii) of the Seller Disclosure Letter.


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     12. The Asset Purchase Agreement at Section 1.01(b) excludes from Transferred Assets

             certain Excluded Assets, including,

                     (ii)     Sellers’   general    ledgers,    accounting   records,   minute      books,

             statutory books, corporate seal and Tax Returns, provided that Sellers shall provide to

             Purchaser copies of the general ledgers, accounting records, minute books and statutory

             books of the Business, including Tax Returns, as such documents exist as of the Closing

             Date;


                                                               ***


                     (iv)    any and all insurance policies for all periods prior to the Closing;


                     (v)      all current and prior director and officer insurance policies of

             Sellers and all rights of any nature with respect thereto, including all insurance

             recoveries thereunder and rights to assert claims with respect to any such insurance

             recoveries;


                     (vi)       any and all claims, causes of action, defenses, counterclaims, or

             settlement agreements of Sellers arising out of or relating to the Excluded Assets;


                     (vii)   any and all avoidance Claims or other Claims or causes of action of the

             Sellers under the Bankruptcy Code, including actions available to the Sellers under

             Chapter 5 of the Bankruptcy Code, of whatever kind or nature, and whether asserted or

             unasserted, except for (A) any claims against (i) High Nature Holdings Limited, (ii) the

             PacBridge Parties, (iii) Alta, (iv) Apollo, or any of their respective Affiliates and (B)




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             claims, causes of action, defenses, counterclaims or settlement agreements set forth in

             Section 1.1(a)(xvi);


                    (viii) Sellers’ personnel records and any other records that Sellers are required

             by law to retain in its possession, provided that Sellers shall provide to Purchaser

             copies of records relating to the Seller Employees;


                                                           ***


                    (xiv) the assets set forth on Section 1.1(b)(xiv) of the Seller Disclosure


                    Letter.


         13.       Thus, the Transferred Assets may include documents that are subject to the hold

letters and demands to preserve all documents and data that were sent to the Defendants in

connection with the Adversary Proceeding.

         14.       On September 13, 2018, the Court entered an order granting the Bid Procedures

under the Sale Motion and other related relief [ECF No. 1201] (the “Bid Procedures Order”).

Under the Bid Procedures Order, the deadline for submitting competing bids for the Transferred

Assets is October 5, 2018 at 4:00 p.m. (EST), the Auction, if any, for the Transferred Assets is

scheduled take place on October 11, 2018, at 10:00 a.m. (EST), and a hearing to approve the Sale

will be held on October 18, 2018 at 10:00 a.m. (EST).

                                    JURISDICTION AND VENUE

         15.       The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         16.       Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.



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                        RELIEF REQUESTED AND BASIS FOR RELIEF

         17.      By this Motion, the Equity Committee seeks to establish certain document and

data retention protocols (the “Protocols”) in connection with the Debtors’ proposed Sale to

ensure records relating to the Adversary Proceeding are adequately maintained by any successful

purchaser of the Debtors’ assets (the “Purchaser”) and its personnel to ensure that no evidence,

or potential evidence, relating to the Adversary Proceeding is lost, altered, or destroyed. The

Equity Committee requests that such Protocols be incorporated into any order approving the Sale

(the “Sale Order”).

         18.      The Equity Committee requests that the following Protocols be incorporated and

required under any order approving the Sale (the “Sale Order”):

               a. Litigation Hold Protocols:

                      i. The Purchaser shall immediately adopt and adhere to litigation hold
                         protocols (the “Protocols”) and instruct all relevant personnel of the
                         Purchaser to retain and preserve any information, documents, and records
                         received from the Debtors relating to the Adversary Proceeding, including
                         not only hard copy documents, but also e-mail, text messages, social
                         media messages and postings, audio recordings, videotape, instant
                         messages, bank statements, credit card statements, loan applications,
                         financial records, receipts, invoices, statements, spreadsheets, databases,
                         calendars, telephone logs, internet usage files, and all other electronically
                         stored information (“ESI”), whether on computer systems, phones, or
                         otherwise. In addition to the above, the Purchaser and its personnel must
                         also maintain and preserve, without alteration, sources of the ESI,
                         documents, and data, including, without limitation, all hard copy files,
                         computer hard drives, removable media (e.g., CDs, DVDs and
                         flash/thumb/jump drives), laptop computers, PDAs, smart phone devices,
                         cell phones, and any other locations where hard copies, data, and ESI is
                         stored. The above-mentioned sources of relevant information include
                         those on personal computers and smart phones. It also includes
                         inaccessible storage media, such as back-up tapes and servers which may
                         contain relevant electronic information that does not exist in any other
                         form. The Purchaser and its personnel are obligated to immediately
                         suspend deletion, overwriting, and any other possible destruction of
                         relevant documents and data, including suspension of the Purchaser’s



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                       current document destruction policy, if any, and/or automatic deletion
                       function on computers or other electronic devices.

                    ii. If the Purchaser or its personnel do not know if any such processes are in
                        place with respect to ESI, or if do not know how to suspend such
                        processes, they should immediately contact an IT professional to ensure
                        compliance with the Protocols and determine how to best preserve ESI. If
                        the Purchaser or its personnel are in any doubt whatsoever as to the
                        relevance of any information in their possession, custody, or control, they
                        must preserve that information.

                   iii. The Purchaser or its personnel may not destroy any potentially relevant
                        information. Failure to do so will result in litigation penalties.

                   iv. The Purchaser must provide all relevant personnel with a memorandum
                       (the “Memorandum”) setting forth (i) the nature and scope of the litigation
                       hold, (ii) the nature of the dispute giving rise to the litigation hold, (iii) a
                       comprehensive list of the sources of data to preserve, (iv) a description of
                       each recipient’s duties under the Memorandum, and (v) an instruction that
                       the recipient of the Memorandum immediately act to segregate and
                       preserve all data, information, records, or documents of relevance, and not
                       take any action to delete or change any of the data, information, records,
                       or documents. Each recipient of the Memorandum must immediately
                       review the Memorandum and complete and sign the following
                       certification to be set forth therein:

                               Certification of Compliance by Custodian: I hereby
                               certify that I have read this Memorandum, diligently and
                               thoroughly acted to preserve, segregate, and collect the
                               relevant data, and I have neither deleted, spoiled, nor
                               altered any of the relevant data. I will collect and preserve
                               all relevant data until the litigation hold is terminated.

         19.     Incorporation of the foregoing Protocols in the Sale Order is appropriate and

necessary to ensure that no evidence, or potential evidence, relating to the Adversary Proceeding

is lost, altered, or destroyed by the Purchaser as a result of the Sale. Requiring the Purchaser to

preserve such information is in the best interests of the Estate because it will allow Special

Counsel to adequately pursue the D&O Claims for the benefit of the Estate.                Absent the

establishment of data and document retention policies by the Purchaser, information and

evidence necessary to the successful pursuit of the D&O Claims may be lost and result in


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irreparable harm to the Estates. Accordingly, the Equity Committee respectfully requests that

any Sale Order obligate Purchaser to adhere to the Protocols set forth herein.



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                                       CONCLUSION

         WHEREFORE, for the reasons set forth herein, the Official Committee of Equity

Security Holders of Premier Exhibitions, Inc. respectfully requests the Court incorporate and

require the foregoing Protocols in any Sale Order and grant any other or further relief that the

Court deems proper or necessary.

 Date: October 3, 2018                        By: /s/ Peter J. Gurfein
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                                              By: /s/ Jacob A. Brown
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                                              Florida Bar No. 170038
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                                              Jacksonville, Florida 32202
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                                              (904) 798-3730 (Facsimile)
                                              Jacob.brown@akerman.com
                                              Attorneys for the Official Committee of Equity
                                              Security Holders of Premier Exhibitions, Inc.




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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 3, 2018, the foregoing was transmitted to the
Court for uploading to the Case Management/Electronic Case Files ("CM/ECF") System, which
will send a notice of electronic filing to all creditors and parties in interest who have consented to
receiving electronic notifications in this case. In accordance with the Court's Order Granting
Debtors' Motion for an Order Pursuant to 11 U.S.C. § 105(a) and Rule 2002 Establishing Notice
Procedures (Doc. 140), a copy of the foregoing was also furnished on October 3, 2018 by U.S.
mail, postage prepaid and properly addressed, to the Master Service List attached hereto.

                                                              /s/ Jacob A. Brown
                                                              Attorney




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                               MASTER SERVICE LIST
                              Case No. 3:16-bk-02230-PMG

A-1 Storage and Crane                    ABC Imaging
2482 197th Avenue                        14 East 38th Street
Manchester, IA 52057                     New York, NY 10017

A.N. Deringer, Inc.                      ATS, Inc.
PO Box 11349                             1900 W. Anaheim Street
Succursale Centre-Ville                  Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                           CBS Outdoor/Outfront Media
30 Rockefeller Plaza                     185 US Highway 48
54th Floor                               Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                       Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor              709 Miner Avenue
Vancouver, BC V6C 3R8                    Scarborough, ON M1B 6B6

Expedia, Inc.                            George Young Company
10190 Covington Cross Drive              509 Heron Drive
Las Vegas, NV 89144                      Swedesboro, NJ 08085

Gowlings                                 Hoffen Global Ltd.
550 Burrard Street                       305 Crosstree Lane
Suite 2300, Bental 5                     Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications               MNP LLP
5230 W. Patrick Lane                     15303 - 31st Avenue
Las Vegas, NV 89118                      Suite 301
                                         Surrey, BC V3Z 6X2

Morris Visitor Publications              NASDAQ Stock Market, LLC
PO Box 1584                              805 King Farm Blvd.
Augusta, GA 30903                        Rockville, MD 20850

National Geographic Society              NYC Dept. of Finance
1145 - 17th Avenue NW                    PO Box 3646
Washington, DC 20036                     New York, NY 10008
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PacBridge Limited Partners                  Pallet Rack Surplus, Inc.
22/F Fung House                             1981 Old Covington Cross Road NE
19-20 Connaught Road                        Conyers, GA 30013
Central Hong Kong

Ramparts, Inc.                              Screen Actors Guild
d/b/a Luxor Hotel and Casino                1900 Broadway
3900 Las Vegas Blvd. South                  5th Floor
Las Vegas, NV 89119                         New York, NY 10023

Seaventures, Ltd.                           Sophrintendenza Archeologica
5603 Oxford Moor Blvd.                      di Napoli e Pompei
Windemere, FL 34786                         Piazza Museo 19
                                            Naples, Italy 80135

Syzygy3, Inc.                               Time Out New York
231 West 29th Street                        405 Park Avenue
Suite 606                                   New York, NY 10022
New York, NY 10001

TPL                                         TSX Operating Co.
3340 Peachtree Road                         70 West 40th Street
Suite 2140                                  9th Floor
Atlanta, GA 30326                           New York, NY 10018

Verifone, Inc.                              Samuel Weiser
300 S. Park Place Blvd.                     565 Willow Raod
Clearwater, FL 33759                        Winnetka, IL 60093

WNBC - NBC Universal Media                  United States Attorney’s Office
30 Rockefeller Center                       Middle District of Florida
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                                            Jacksonville, FL 32202

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Vancouver, BC V6C 2B5                       PO Box 13708
                                            Macon, GA 31208
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TSX Operating Co., LLC                  Dallian Hoffen Biotechnique Co., Ltd.
c/o James Sanna                         c/o Ezra B. Jones
70 W. 40th Street                       305 Crosstree Lane
New York, NY 10018                      Atlanta, GA 30328
Creditor Committee                      Creditor Committee

B.E. Capital Management Fund LP
Thomas Branziel
205 East 42nd Street , 14th Floor
New York, NY 10017
Creditor Committee
